Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19        PageID.530    Page 1 of 17



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 UNITED STATES OF AMERICA,

              Plaintiff,                             Case No.: 2:19CR20026-006

                                              The Honorable Gershwin A. Drain

 AVINASH THAKKALLAPALLY,

              Defendant.


               DEFENDANT AVINASH THAKKALLAPALLY’S
                    SENTENCING MEMORANDUM

       NOW COMES Defendant, Avinash Thakkallapally, by and through his

 undersigned counsel, Edward A. Bajoka, and for his sentencing memorandum in this

 matter, states the following:

 I.    BACKGROUND AND RULE 11

       Defendant Avinash Thakkallapally was indicted on January 15, 2019, and

 charged with Count 1 – Conspiracy to Commit Visa Fraud and Harbor Aliens for

 Profit, in violation of 18 U.S.C. § 371. On May 24, 2019, Mr. Thakkallapally entered

 a guilty plea guilty to Count 1 of the Indictment without a Rule 11 Plea Agreement.

       According to the factual basis set forth on the record at the time of the plea,

 Mr. Thakkallapally conspired with at least one (1) other person to obtain student

 visas in order to lawfully remain in the United States, knowing that the “University”

 in which he and others were enrolling was not actually expecting him and other

                                          1
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19          PageID.531   Page 2 of 17



 students to attend classes. Mr. Thakkallapally accepted responsibility for recruiting

 54 students and accepting approximately $15,000.00 in cash from the Government

 as his role in this case.

        Most of the students embroiled in this case were following all U.S.

 Immigration laws, when on December 12, 2016, the Department of Education

 announced that it no longer recognized the accreditation agency for many of the

 schools that these students were attending. After some legal fight to this decision,

 on December 21, 2016, U.S. District Court Judge Reggie B. Walton denied the

 ACICS request for a temporary restraining order to stay the decision of the U.S.

 Department of Education terminating ACICS’s status as a federally recognized

 accrediting agency. On April 3, 2018, the Secretary of Education issued an Order

 restoring ACICS’s status as a federally recognized agency back to December 12,

 2016. In the interim, approximately 16,000 international students in the United

 States were affected by the ACICS losing its accreditation.

        Options for students who were now faced with losing their legal status in the

 United States had to either determine whether their school was accredited by

 another agency, transfer to another accredited school, or depart the United States if

 either of those options, did not work out. Unless the affected students enrolled in

 an accredited university within 15 days of the termination of the accreditation, they




                                           2
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19        PageID.532    Page 3 of 17



 would be out of status. It was at this point that the University of Farmington

 increased its web presence in order to attract students who were out of status.

       While it is true that Mr. Thakkallapally was aware that the school was not

 conducting classes, he nevertheless believed that he was legally enrolled in an

 accredited school. Mr. Thakkallapally initially enrolled in the University of

 Farmington himself. After enrolling, he was encouraged to refer other students to

 the University. Others who sought enrollment directly from the school were told

 that they had to go through a recruiter.



 II.   SENTENCING GUIDELINES CALCULATION

       U.S. Probation Officer Alima Patterson drafted the Pre-sentence Investigation

 Report (PSIR) and submitted a revised report to the parties on September 4, 2019.

 Defendant, Mr. Thakkallapally, timely presented objections to the PSIR, principally

 taking issue with Probation’s calculation of the scoring of the guidelines with regard

 to the two-level increase under USSG § 3B1.1.

       Probation scored a two-level increase under USSG §3B1.1, claiming that Mr.

 Thakkallapally was an organizer, leader, manager, or supervisor of a criminal

 activity that involved one or more participants. “Factors that the Court should

 consider include the exercise of decision making authority, the nature of

 participation in the commission of the offense, the recruitment of accomplices, the



                                            3
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19          PageID.533    Page 4 of 17



 claimed right to a larger share of the fruits of the crime, the degree of participation

 in planning or organizing the offense, the nature and scope of the illegal activity, and

 the degree of control and authority exercised over others.” An analysis of these

 factors would lead any reasonable person to the conclusion that the Government’s

 role in this case was that of an organizer, leader, or manager under the definition of

 the guidelines. While it is true that Mr. Thakkallapally recruited students and

 received money in exchange, it was the Government who in this case exercised

 decision-making authority. The Government funneled students to recruiters like Mr.

 Thakkapally and others. The government saw the greatest financial reward in this

 case, pocketing likely millions of dollars in tuition money from hundreds of students.

 The Government planned every aspect of the sham University of Farmington. There

 were no Capos, Captains, or made men in this conspiracy. This was not an

 extensively planned out operation orchestrated by Mr. Thakkallapally.              The

 Government, however, planned out every single detail of this sham University. The

 Court should not impose a two-level increase under USSG § 3B1.1.

        Mr. Thakkallapally’s calculation of the total offense level is 15. Combined

 with a Criminal History Score of Zero, Mr. Thakkallapally’s calculation of the

 guideline range applicable to him is 18-24 months.



 III.   18 U.S.C. 3553(a) Factors



                                            4
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19          PageID.534    Page 5 of 17



       As this Court is well aware, a district court must give “respectful

 consideration” to the Sentencing Guidelines, and is permitted “to tailor the sentence

 in light of other statutory concerns as well.” Kimbrough v. United States, 552 U.S.

 85 (2007); see also, United States v. Booker, 543 U.S. 220 (2005); Gall v. United

 States, 552 U.S. 38 (2007); Rita v. United States, 561 U.S. 338 (2007). While there

 is virtually no “substantive difference between a variance and a departure,” courts

 typically calculate the recommended guideline range under the advisory guidelines,

 then determine whether to apply an upward or downward “variance” premised on

 the weighting of one or more of the sentencing factors of 18 U.S.C. § 3553(a). See

 Irizarry v. United States, 553 U.S. 708, 718 (2008) (“the substantive difference

 between a variance and a departure is nonexistent”); see also, United States v.

 Grams, 566 Fed. 3d 683, 686-87 (6th Cir. 2009). In light of the sentencing factors

 set forth in 18 U.S.C. § 3553(a), a court has discretion to impose any sentence it

 deems reasonable (within the bounds of the applicable statute and plea agreement).

 Gall, 552 U.S. at 46-47.

       In determining an appropriate sentence, the factors to be considered include:

 (1) the nature of the offense and characteristics of the Defendant, (2) the need for the

 sentence to reflect the seriousness of the crime, (3) to provide adequate deterrence,

 (4) to protect the public, and (5) to provide the defendant with needed training or

 treatment. 18 USC § 3553(a)(1)-(2). In considering those factors and determining



                                            5
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19          PageID.535    Page 6 of 17



 a sentence, “a district court’s mandate is to impose a sentence sufficient, but not

 greater than necessary, to comply with the purposes of section 3553(a)(2).” United

 States v. Wilms, 495 F. 3d 277, 281 (6th Cir. 2007) (citation and internal quotations

 omitted); see also 18 U.S.C. § 3553(a) (“The court shall impose a sentence sufficient,

 but not greater than necessary, to comply with the purposes set forth in … this

 subsection.”).

       A.     Nature and Circumstances of the Offense

       It is without a doubt that Mr. Avinash Thakkallapally knowingly violated the

 laws relating to U.S. Immigration during the course of the conspiracy.              Mr.

 Thakkallapally’s conduct in this matter is inexcusable. He knowingly benefitted

 from the conspiracy. Mr. Thakkallapally admits that what he did was wrong, and

 offers no excuse for his behavior. Mr. Thakkallapally did not get rich from this

 scheme. On the contrary, he ended up losing his freedom and any opportunity he

 may have had at achieving the American dream. He takes full responsibility for his

 involvement in this offense. He admits that it is the biggest regret of his life that he

 has put himself and his family in this position.



       B.     History and Characteristics of the Defendant

       Mr. Avinash Thakkallapally was born in India. He is an only child to very

 loving and caring parents. His father is a small-time businessman and farmer. His



                                            6
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19         PageID.536       Page 7 of 17



 mother a homemaker. Avinash is well educated, possessing an undergraduate

 degree as well as a Master’s degree. He works in the field of computer science.

 Avinash suffers from severe chronic asthma. The pollution and poor air quality in

 his native India make life there very difficult for him. He reports that adequate

 asthma treatment is scarcely available and difficult to obtain in his country. On

 many occasions, he has been hospitalized as a result of his asthmatic condition. He

 has said that the asthma medication received in the U.S. is far superior to anything

 that is available in India, including the medication he receives in prison.



 C.    Need for the Sentence Imposed to Reflect the Seriousness of the Offense,
       to Promote Respect for the Law, to Provide Just Punishment, Adequate
       Deterrence, and Protect the Public

       28 U.S.C. § 994(j) charges the Sentencing Commission with "insur[ing] that

 the guidelines reflect the general appropriateness of imposing a sentence other than

 imprisonment in cases in which the defendant is a first offender who has not been

 convicted of a crime of violence or an otherwise serious offense[.]"

       “The analysis [of empirical data on re-offending] delineates recidivism risk

 for offenders with minimal prior criminal history and shows that the risk is lowest

 for offenders with the least experience in the criminal justice system. Offenders with

 zero criminal history points have lower recidivism rates than offenders with one or

 more criminal history points.”); U.S. v. Duane, 533 F.3d 441 (6th Cir. 2008). A



                                           7
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19            PageID.537   Page 8 of 17



 lengthy custodial sentence is not necessary to “provide adequate deterrence and to

 protect the public.”

        As to specific deterrence, Mr. Thakkallapally will never have the opportunity

 to commit a crime in the United States again. He will be deported to India at the end

 of his sentence, with little to no chance of ever being able to make it to this country

 again. Avinash loves this country and loved his life here prior to being incarcerated

 for this crime. He has lost his job. He has lost his opportunity to become an

 American. He will return to India where he will face health problems, lack of

 opportunity, and the shame brought upon him and his family as a result of this case.

        Turning to general deterrence, the consequence of deportation is the greatest

 deterrent that exists here. All immigrants to this country go to great lengths to get

 here and partake in the benefits that the United States has to offer. There is no

 country on the planet that can rival the lifestyle that Americans are privileged to live.

 The risk of deportation for any immigrant who would choose to partake in similar

 activity to that in this case is a major deterrent in and of itself.

        While it is true that a custodial sentence may contribute to collective

 awareness regarding the misuse of the student visa program, lengthy incarceration

 is not necessary to make that point. Collective awareness of the consequences of

 these cases has already been achieved. Mr. Thakkallapally and the local community,

 as well as his community in India and elsewhere in the world are well aware that



                                              8
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19        PageID.538    Page 9 of 17



 even the allegations related to student visa misuse and an indictment for the misuse,

 are enough to ruin a person’s career, tarnish their reputation, and result in

 incarceration and deportation. This matter has received national and international

 media attention. Individuals all over the world know about this case and understand

 that this type of activity is taken very seriously by the U.S. Government. A custodial

 sentence greater than the time served, which will be approximately 9 months at the

 time of sentencing, will not foster general deterrence.

 D.      The Need to Avoid Unwarranted Sentence Disparities Among Defendants
         with Similar Records Who Have Been Found Guilty of Similar Conduct

         Mr. Thakkallapally was indicted with five other co-defendants. There are two

 companion cases which are listed as related cases. Both of the Defendants in the

 related cases received custodial sentences of 366 days.

         While U.S.S.G. § 3553(a)(6) is not concerned with disparities between co-

 conspirators sentences, contextually it is important to take into consideration.

 United States v. Wallace, 597 F.3d 794, 803 (6th Cir 2010) (a sentencing judge “may

 exercise his or her discretion and determine a defendant’s sentence in light of a co-

 defendant’s sentence”). A sentence of “time served” or a sentence no more severe

 than that received by the other defendants in the related cases is appropriate in this

 case.

 III.    CONCLUSION




                                           9
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19           PageID.539    Page 10 of 17



        Avinash Thakkallapally has spent all of his life engaged in legitimate pursuits.

 He has lived his life on the right side of the law both in this country and in India until

 the single instant offense. Mr. Thakkalllapally is not a wealthy man and he did not

 make a substantial amount of money from this conspiracy. Most people involved in

 serious fraud cases live lavish lives, purchase expensive cars, take expensive

 vacations, and enjoy the spoils of their profits – yet Mr. Thakkallapally lived the life

 of a meager student. He ended up in jail, losing his freedom, and will be deported

 to India with no chance of ever returning to the United States. With an immigration

 fraud felony charge on his record, it is highly unlikely that he could even obtain entry

 into any other country. Mr. Thakkallapally has endured enough punishment with

 the jail time he has served. His greater punishment awaits him after his deportation.

 Then, he will face financial and professional instability, health problems related to

 his asthma, and the stigma and shame from his community who will all know about

 his role this case.

        Mr. Thakkallapally recognizes that he is guilty, and he understands that he

 had a duty to abide by the regulations of the U.S. Immigration system. He

 understands that by failing to comply with these requirements, he is guilty. He is

 ashamed and remorseful for his behavior, knowing that he will have to leave the

 United States under these unfavorable circumstances.




                                            10
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19     PageID.540   Page 11 of 17



       A sentence of time served is sufficient to meet all the factors outlined in

 U.S.S.G. § 3553, taking into account Mr. Thakkalapally’s age, his lack of any

 criminal history, the circumstances of the offense and the need to promote respect

 for the law.




                                      Respectfully submitted,
                                      BAJOKA LAW GROUP, PLLC

 Dated: September 5, 2019
                                /s/ EDWARD A. BAJOKA
                                Edward A. Bajoka (P70919)
                                Attorney for Defendant Avinash Thakkallapally
                                8424 E 12 Mile Rd, Suite 200
                                Warren, MI 48093
                                T: (844) 422-5652
                                bajokalaw@gmail.com




                                        11
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19        PageID.541      Page 12 of 17



                              PROOF OF SERVICE

             I hereby certify that on September 5, 2019, I presented the
             foregoing paper to the Clerk of the Court for filing and
             uploading to the ECF system, which will send notification
             of such filing to the attorneys of record listed herein and I
             hereby certify that I have mailed by U.S. Postal Service
             the document to any involved non participants.

                                 /s/ Edward A. Bajoka
                                 Edward A. Bajoka (P70919)
                                 Attorney for Defendant Avinash Thakkallapally




                                          12
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19                         PageID.542        Page 13 of 17



 Duggirala Sanjeev Rao
 H.No 2-6-1164/B/105
 Hanuman Residency
 Hanamkonda, 506001
 Telangana, India

 June 20, 2019

 RE: Avinash’s Character Reference

 To the Honorable Gershwin Drain

 My name is Duggirala Sanjeev Rao, I am Avinash Thakkallapally’s neighbor for almost about 15 years. I
 know their family very well and in times of need, they helped me expand my business. His father and
 grandfather are very well respected in the community for their charity and goodness.

 I know Avinash Thakkallapally since his high school, he is very close to our family and my kids used to
 spent most of time in their house. He is very kind to share things with my kids. His family is like perfect
 neighbor you would wish for.

 I came to know about the charges on Avinash Thakkallapally and felt very sorry for him and his family. The
 local media took this incident as a chance and disrespected their family and the whole community felt bad
 about it. They do not deserve this, for all the good things their family has done. It is kind of a shock to see
 how Avinash got wound up in this incident. In my observation, he used to be far from anything that might
 bring trouble and shame to the family. He is also very responsible towards his friends, he alerted me about
 my sons’ behavior and before it was too late, I was able to take care of it.

 My opinion about Avinash Thakkallapally’s character is that I always felt like society needs decent people
 like him, one who is responsible and takes care of community, one who respects and greets elders, one
 who can be a good asset to the community. For all the years I know him, I think he can lead a normal and
 regular life if he was given a chance and I believe in second chances and I got one and never looked back.
 Their family is facing challenging situations in the community and they need his son back to face those
 situations and restore what has been lost.

 Yours sincerely,


 Duggirala Sanjeev Rao
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19                        PageID.543        Page 14 of 17



 Boinpally Rama Rao
 H.No 3-11
 Gopalpur, Elkathurthy
 Warangal urban, 505476
 Telangana, India

 June 20, 2019

 RE: Avinash’s Character Reference

 To the Honorable Gershwin Drain

 I am Boinpally Rama Rao, Avinash Thakkallapally’s grandfather. I was born in India, my age is 74, and I
 have lived my entire life in a village called Gopalpur. I am the local head of this village, over the years, I
 contributed a lot to the growth, provided clean drinking water to the village, helped farmers in selling the
 crops and constructed a temple as well.

 Avinash Thakkallapally is my only grand son and I love him more than anything in this world. He used to
 come to the village whenever there is a chance and absolutely love the atmosphere. He used to take part
 in the village development activities, and I thought one day he would take my responsibilities and continue
 doing the good to this village. People of this village love his kindness, voluntary work and charitable
 nature.

 It broke my heart to hear that my grand son has been charged with a crime. The whole village came to my
 house worried about him and I regret to be in a position where I cannot offer him any help, except my
 thoughts and prayers. I do not know much about his life in America, but I can say what kind of person he
 is in India. He is fragile when asthma attacks him, he is a lovable and fun person in the family, he is kind
 and charitable. And never ever I have seen a single trait of him leaning towards doing something wrong.

 When I see realization in someone for what he did, granting merci is the greatest thing one can do and in
 my personal experience, I have seen people take that opportunity to start their new life. I do not know
 much about his life in America, but he can have a decent life in India and when time comes, he can take
 my responsibilities and help the people of this village.

 I sincerely request you to take his health conditions and previous behavior into consideration and send
 him back as soon as you can and give my grand son a chance to reshape his life towards greater good.

 Yours sincerely,


 Boinpally Rama Rao
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19                        PageID.544        Page 15 of 17


 Manoj Takkallapally
 H.No 2-10-912/11
 SBH Colony, Subedari
 Hanamkonda, 506370
 Telangana, India

 June 18, 2019

 RE: Avinash’s Character Reference

 To the Honorable Gershwin Drain

 I am Manoj Takkallapally, I was born in India and my age is 29 years old. I came to United States on August
 2013 and got my master’s degree on May 2016 from Louisiana State University, Baton Rouge. I worked as
 Data Engineer for a Marketing and Advertising agency in Minneapolis, MN and San Diego CA. And returned
 to India in March 2019 after completing my OPT period.

 I have known Avinash Thakkallapally almost my entire life, we went to the same college for under
 graduation and we live in the same city. He is my cousin; my father and his father are brothers. We are
 more like friends and he lived a decent life and his father is most respected in the community.

 I acknowledge that Avinash Thakkallapally has been charged with a crime and I am very sad to hear that,
 and it saddened entire family and I cannot describe the pain his family is going through. He is calling me
 from the detention center, and he is sorry for putting himself and the family in such a situation. In India,
 people take their respect and reputation more seriously than anything else and this event has damaged
 the reputation of their parents. His parents are confident that he can still be a good citizen and contribute
 to the society if he is given a chance and I am confident as well.

 All the years I know him, I only know him as good individual who is never inclined to do anything that is
 illegal and never seen him commit a smallest offense in my life. He visited me while I was working in
 Minneapolis, MN and he did not have a driver license at that time, and I have asked him to drive me back
 home as I lost my lenses and he did not drive the car and said I don’t want to break any rules. He always
 respected and love the country and like any other immigrant he was there to fulfill his dreams and went
 through some struggle to find right job that fits him, and I believe those circumstances have led him to
 that path. I have been talking to him ever since this happened and as the days passing by, he is becoming
 weak mentally and physically, he is severely asthmatic and the pollution in India will only make his
 condition worse and I recall him saying how healthy he was after coming into United States and thanking
 the country and people living in America for taking responsibility for maintaining a healthy environment

 I can confidently say that he can put this incident behind and start from beginning and be a good citizen.
 At this point all he wants is a chance to restore the reputation of his family.

 Yours Sincerely,


 Manoj Takkallapally
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19                      PageID.545        Page 16 of 17



 Ashok Rao Thakkallapally
 H.No 2-6-1164/B/102
 Hanuman Residency
 Hanamkonda, 506001
 Telangana, India

 June 18, 2019

 RE: Avinash’s Character Reference

 To the Honorable Gershwin Drain

 I am Ashok Rao Thakkallapally, father of Avinash Thakkallapally. I am writing this letter on behalf of his
 Mother, Srilatha Boinpally. We have lived our entire life in small city called Hanamkonda, I am a small
 business man and I do agriculture as well. His Mother is house wife.

 Avinash Thakkallapally is our only son and he lived with us until he came to United States. We couldn’t
 send him to anyplace else for education because of his severe asthmatic conditions. After completing his
 under graduation, he convinced us to send him to United States for higher education and assured us that
 he will be okay and do better than here in terms of health and profession. We were worried in the
 beginning and felt happy later seeing that he is doing okay in all aspects of his life.

 We are aware that our son has been charged with a crime in United States and we are very sorry for what
 happened. We raised our son with care, affection, teaching good values and showing him how to earn
 respect in the society. He is the smallest in our family and loved by everyone, we never received a single
 complaint on him about anything, he is always nice to people and didn’t see him motivated to do anything
 illegal and not even breaking rules.

 It is a shock to see him involved in this crime and we are not aware of anything such big going on in his
 life. He only mentioned that he had some troubles professionally and assured that he is figuring out and
 told us not to worry about anything. I can confidently say that my son’s nature is good, and I believe his
 situations and circumstances have caused him to be charged with this crime. I have been talking with him
 and he sincerely remorse for what had happened. His asthma attacks were greatly reduced while in United
 States and we are thankful to that. He had his realization and he will never look back to this stage of his
 life and will be good citizen.

 We are worried to death about his severe asthmatic condition and sincerely requesting you to provide
 necessary health care. We sincerely request you to send our only son back to us as soon as possible and
 relieve us from this excruciating pain.

 Yours sincerely


 Ashok Rao Thakkallapally and Srilatha Boinpally
Case 2:19-cr-20026-GAD-EAS ECF No. 108 filed 09/05/19                           PageID.546        Page 17 of 17



 Anudeep Reddy Muddasani
 H.No 2-7-153
 KD colony, Subedari
 Hanamkonda, 506001
 Telangana, India

 June 21, 2019

 RE: Avinash’s Character Reference

 To the Honorable Gershwin Drain

 I am Anudeep Reddy, I was born in India and my age is 28 years. I came to United States on August 2013
 and got my master’s degree on Dec 2014 from Northwestern Polytechnic University. I worked as software
 Engineer in Comcast, Westchester PA. And returned to India on June 1st, 2019.

 I have known Avinash Thakkallapally since 2015 Aug, we went to the same university for masters in
 California and we live in the same community. I know him for the past 4 years, and he is very decent and
 a good guy. He is also very kind-hearted person towards others.

 I know that Avinash Thakkallapally has been charged with a crime and it shocked me, I also know their
 parents and they are worried about him. While pursuing masters, I have seen him as hard-working person
 and committed to his work and responsible to the community and environment. He always loved United
 States very much and happy to be in the country. I didn’t see him getting into any troubles and always a
 bit far from things that might bring troubles. He is used to be far from big parties and said that he needs
 to take of his health very carefully and mentioned that his health condition (severely asthmatic) is much
 better after coming into United States and he didn’t want to change that. I did not think he had any
 personal problems while pursuing master’s that might get him into such troubles, he always seemed to
 be taking care of himself very well.

 I can confidently say that all the time in know Avinash Thakkallapally, he is a decent, hardworking and
 responsible person towards society. Apart from the reasons or causes why he had to involve himself in
 this situation, for all the years I known him, I believe he can still be that responsible citizen and lead normal
 life again and never get into troubles.


 Yours Sincerely,


 Anudeep Reddy Muddasani
